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         Exhibit	  R	  
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United States Patent                                           19                          11 Patent Number:                    5,857,085
Zhang et al.                                                                              (45) Date of Patent:                 Jan. 5, 1999
54 INTERFACE DEVICE FOR XT/AT SYSTEM                                                IEEE Standard for a Chip and Module Interconnect Bus:
       DEVICES ON HIGH SPEED LOCAL BUS                                              SBus, Published by the Institute of Electrical and Electron
                                                                                    ics Engineers, Inc., 345 East 47th Street, New York, NY
75     Inventors: Lei L. Zhang, Newark; Kwai Chuen                                  10017, USA, Sep. 17, 1993 Copyright 1993 by the Institute
                      So, San Jose, both of Calif.                                  of Electrical and Electronics Engineers, Inc.
                                                                                    SPARC MBus Interface Specification, Revision 1.2, Apr. 10,
       Assignee: Cypress Semiconductor Corporation,                                 1991, Copyright 1991 SPARC International, Inc.
                      San Jose, Calif.                                              Intel-System Management Bus Specification, Revision 1.0
                                                                                    Feb. 15, 1995, copyright 1994, 1995 Intel Corporation, All
       Appl. No.: 746,645                                                           Rights Reserved.
       Filed:      Nov. 13, 1996                                                    Intel-System Management Bus BIOS Interface Specifica
                                                                                    tion, Revision 1.0 Feb. 15, 1995, Copyright 1994, 1995,
       Int. Cl. .................................................... G06F 13/00     Intel Corporation, All Rights Reserved.
       U.S. Cl. ..................   395/309; 395/306; 395/308
       Field of Search ..................................... 395/306, 308,          Primary Examiner Meng-Ai T. An
                                395/823, 828, 733, 734, 309, 842                    Assistant Examiner Rupal D. Dharia
                                                                                    Attorney, Agent, or Firm-Oblon, Spivak, McClelland,
                          References Cited                                          Maier & Neustadt, P.C.
                 U.S. PATENT DOCUMENTS                                               57                      ABSTRACT
     4,695,839 9/1987 Barbu et al. .                                                A host bus interface device is provided for interfacing a
     4,791,358 12/1988 Sauerwald et al. .                                           processor coupled to a hostbus to XT/AT legacy I/O devices
     4,815,026 3/1989 Barbu et al. .                                                and a high Speed bus. The legacy I/O devices include an
     5,054,022 10/1991 Van Steenbrugge.                                             interrupt controller, timer/counter and a real time clock. The
     5,144.662 9/1992 Welmer.                                                       hostbuS interface includes a host controller coupled between
     5,163,048 11/1992 Heutink.                                                     the host bus and the high speed bus, with the interrupt
     5,175,846 12/1992 Bendahan .                                                   controller, the timer/counter and the real time clock coupled
     5,422,884 6/1995 Goertz.
     5,448,554 9/1995 Van Steenbrugge.                                              to the host controller. The host controller is configured to
     5,463,619 10/1995 Van Steenbrugge et al. .                                     provide an interface between the processor coupled to the
     5,535,341 7/1996 Shah et al. .............................. 395/306            host bus and the interrupt controller, the timer/counter, the
     5,692.211 11/1997 Gulicket al. ...................... 395/800.31               real time clock device and the high Speed bus. The novel
                    OTHER PUBLICATIONS
                                                                                    host bus interface device has the advantage of improving
                                                                                    System performance of an XT/AT compatible personal com
Microcomputer Busses, R.M. Cram, University of Califor                              puter by reducing access latency of the processor to the
nia, San Diego, La Jolla, CA and Thermo Electron Thecho                             XT/AT legacy I/O devices.
nologies, San Diego, CA Copyright 1991 by Academic
Press, Inc.                                                                                           12 Claims, 8 Drawing Sheets



                                                                                           HOST BUS




                                              HOST BUS BRIDGE
                                              (NORTH BRIDGE)
                                                                                  4. b PC BUS
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                                     20     HOST BUS




        HOST BUS BRIDGE
        (NORTH BRIDGE)
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     INTERFACE DEVICE FOR XT/AT SYSTEM                             controller 12 coupled to Signal lines 8a which provide an
      DEVICES ON HIGH SPEED LOCAL BUS                              interface to the PCI bus 6. The PCI/ISA controller 12 is also
                                                                   coupled to signal lines 8b (SD-BUS) which provide an
         BACKGROUND OF THE INVENTION                               interface to the ISAbus 10. Buffer 14 is coupled to SD-BUS
  1. Field of the Invention
                                                                   8b via signal lines 14b. Direct Memory Access (DMA)
                                                                   controller 16, such as an Intel 82C37A CHMOS Program
  This invention relates to a novel host buS interface, and        mable DMA controller, interrupt controller 18, such as an
more particularly to a host buS interface which allows             Intel 82C59A CHMOS Programmable Interrupt Controller,
compatibility with older ISA bus standard I/O devices.             timer/counter 20, such as an Intel 82C54 CHMOS Program
  2. Discussion of Background                                      mable Interval Timer, and real time clock 22, Such as a
   In recent years, high performance personal computers            Dallas Semiconductor DS 1287 Real Time Clock, are
                                                              coupled to buffer 14 via signal lines 14a (XD-BUS). The
(PCs) have been introduced into the market. These newer operation of South bridge 8 will now be described.
high performance PCs are typically much faster than older       The PCI/ISA controller 12 provides an interface from the
(also referred to as “legacy”) computers such as IBM XT/AT 15 PCI bus 6 to the DMA controller 16, the interrupt controller
PCs. The newer high performance PCs may be based on 18, the timer/counter 20, and the real time clock 22 via
CPUs, such as the 80486, Pentium, etc., which can typically buffer 14. The DMA controller 16 provides peripheral
operate at speeds much greater than the CPUs of the XT/AT devices connected to the ISA bus 10 direct access to the
legacy computers, such as the 8186, 8088, 80286, etc. In main memory of the PC, thereby freeing the CPU 2 from
addition, the newer high performance PCs typically include performing Simple but time-consuming data transferS. The
a high speed peripheral bus, such as a PCI bus, VESA bus, interrupt controller 18 manages and prioritizes hardware
etc., which can typically operate at Speeds much greater than interrupt requests from peripheral devices connected to the
the peripheral bus of the XT/AT legacy computers, Such as ISA bus 10 and passes the prioritized hardware interrupts to
an ISAbus, EISAbus, etc. There are many existing hardware the CPU2. There are two basic types of hardware interrupts
peripherals and software developed for the ISA bus of the processed by the interrupt controller 18: non-maskable inter
XT/AT legacy PCs, and accordingly, it is desirable for these 25 rupts (NMI) and maskable interrupt requests (IRQ). The
newer high performance PCs to provide compatibility with timer/counter          20 is a programmable interval timer (PIT)
                                                                 having three independent programmable counters (0, 1 and
peripherals and software designed for the older XT/AT PCs 2,         not shown). The counter 0, for example, is used for
having an ISA bus.                                               periodically updating the PCS internal System clock, the
   For a newer high performance PC (e.g., based on the counter 1, for example, is used for periodically activating the
80486 or Pentium CPU, etc.), the above-stated problem may PC's memory refresh function, and the counter 2, for
be solved using the configuration shown in FIG. 7. FIG. 7 example, is used for generating tone frequencies for the PCS
shows the minimal circuitry required to understand the host Speaker. The real time clock 22 is a battery-backed-up timer
bus interface according to the background art invention, that keeps a current date and time for the PC regardless of
although it is to be understood that the PC may include other 35 whether the PC is turned on or off. The XD-BUS 14a is a
System devices (which are not shown), Such as memories, low speed bus defined in the XT/ATPC architecture, and is
disk drives, clock generators, monitors, Speakers, used by several legacy I/O devices including the DMA
motherboard, other peripherals, etc., as will be apparent to controller 16, the interrupt controller 18, the timer/counter
those skilled in the computer arts.                              20 and the real time clock 22. These legacy I/O devices, for
   In FIG. 7, a CPU 2 (e.g., based on the 80486 or Pentium 40 example,with are important for the compatibility of the newerPC
CPU, etc.) is coupled to a host bus 3 via signal lines 2a. A designs
                                                                 the  legacy
                                                                               Software and peripheral hardware designed for
                                                                             XT/AT   ISA bus PCs.
hostbus bridge (north bridge) 4 is coupled to the host bus 3
Via Signal lines 4a. The north bridge 4 provides an interface XD-BUS 14a legacyarchitecture,
                                                                   With   the  above                 the CPU 2 accesses the
to PCI bus 6 via signal lines 4b. Also coupled to the PCI bus on the hostbus 3 via the signal linesstarting
                                                                                       I/O devices  by         I/O transactions
                                                                                                        2a (FIG. 7). Typically,
6 via signal lines 8a is an ISA-to-PCI bridge (south bridge) 45
8. The South bridge 8 is also coupled to an ISA bus 10 via the       CPU2 is running at 60 or 66 MHz (i.e., 60 or 99 ns clock
signal lines 8b. With the above architecture, CPU 2 is able cycles)      and therefore, ideally, the I/O transactions should be
                                                                 completed in as few CPU 2 clock cycles as possible.
to perform I/O transactions between the CPU 2 and legacy However, the I/O transactions have to pass through the north
I/O devices located within the South bridge 8. These legacy bridge 4 and then the South bridge 8 before access to the
I/O devices located in South bridge 8 may provide various 50 legacy I/O devices within South bridge 8 can be completed
functions to peripheral devices connected to the ISA bus 10 (FIG. 7). At the south bridge 8, the I/O transactions are
and to other system devices of an XT/AT ISA bus PC.              running at a standard ISAbus timing of, for example, 8 MHz
   The PCI bus 6 is a newer high speed peripheral bus, such or 8.33 MHz. As a result, a standard 16-bit ISA I/O trans
as a 32-bit or 64-bit bus running at 25 MHz or 33 MHz, etc.      action typically requires a minimum of 375 ns to complete
The ISA bus 10 is an older slower peripheral bus, such as an 55 (3 ISA clock cycles at 8 MHz). However, I/O transactions
8-bit or 16-bit bus running at 8 MHz or 8.33 MHz, etc. The directed towards the interrupt controller 18, the timer/
north bridge 4 is a controller chip that typically bridges the counter 20 and the real time clock 22 are usually 8-bit ISA
CPU2 and other system resources of the PC (which are not I/O transactions which require additional ISA clock cycles to
shown), such as DRAM, cache memory, post write buffer, complete as compared to the 16-bit ISA I/O transactions. In
etc. The south bridge 8 is a controller chip that bridges the 60 addition, time is needed for the South bridge 8 to arbitrate for
legacy ISA bus 10 to the faster PCI bus 6 and the north the PCI bus 6 and the ISA bus 10. Therefore in more typical
bridge 4. AS previously discussed, the South bridge 8 also cases the I/O transactions directed towards these legacy I/O
hosts legacy I/O devices which provide various functions to devices require in the range of 1.5 microSeconds to
peripheral devices connected to the ISA bus 10 and which complete, as seen from the CPU 2 side. When access to these
will now be described with reference to FIG. 8.               65 legacy I/O devices is frequent, the CPU 2 is slowed down,
   FIG. 8 shows details of an internal structure of South        which thereby adversely impacts the overall system perfor
bridge 8. In FIG. 8, South bridge 8 includes legacy PCI/ISA          CC.
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  The background art configuration of FIG. 7 therefore has              FIG. 6 is a timing diagram showing a compatibility mode
Several disadvantages including requiring to perform I/O             according to the present invention;
transactions to access legacy I/O devices (e.g., the DMA                FIG. 7 is a block diagram of a background art host bus
controller 16, the interrupt controller 18, the timer/counter        interface including a north bridge and a South bridge, and
20 and the real time clock 22) located in the south bridge 8            FIG. 8 is a block diagram of a background art South
at the ISA bus timing of 8 MHz or 8.33 MHz, which thereby            bridge.
adversely impacts the overall System performance when
accesses to these legacy I/O devices by the CPU 2 are                         DESCRIPTION OF THE PREFERRED
frequent.                                                                             EMBODIMENTS
                                                                1O
           SUMMARY OF THE INVENTION                                     Referring now to the drawings, wherein like reference
   Accordingly, one object of this invention is to provide a         numerals designate identical or corresponding parts
novel hostbus interface which improves the performance of            throughout the Several views, and more particularly to FIG.
                                                                     1 thereof, a northbridge 4' according to the present invention
newer high performance PCs while Still maintaining com is illustrated.
patibility with legacy XT/AT ISA bus PCs.                     15

   Another object of the present invention is to provide a 7 and    As discussed above, the background art device of FIGS.
novel host buS interface which relocates legacy I/O devices through8 requires
                                                                          south
                                                                                   a CPU 2 to access legacy I/O devices in the
                                                                                 bridge 8 through the north bridge 4 at the ISA
from a South bridge to a north bridge, to thereby improve buS 10 timing. This requires          time consuming operations.
System performance of newer high performance PCs.
                                                                    Experimental results performed by the inventors have
   The present invention has been made in view of the fact
that the time typically required to complete I/O transactions shown      that access to legacy I/O devices are quite frequent.
                                                                 The inventors experimented on the background art System of
directed towards the XT/AT legacy I/O devices should be FIGS. 7 and 8 to determine the number of I/O transactions
reduced in order to increase the System performance of directed to the legacy I/O devices while the CPU 2 was
modern PCs supporting XT/AT ISA bus hardware periph 25
erals and software. In addition, XT/AT ISA bus compatibil running          Winstone 96, a popular Windows based system
ity is desirable for new PC designs. Since there are many I/O transaction isprogram,
                                                                 level benchmark             and a timing diagram of a typical
existing hardware peripherals and Software developed for 401 I/O transactions were FIG.
                                                                                     shown  in      5. During the experiment,
                                                                                                captured  while CPU 2 was
the legacy XT/AT ISA bus PCs.                                    running Winstone 96. The results of this experiment indicate
   The above and other objects are achieved according to the that 44.6% of the I/O transactions were directed towards the
present invention by providing a new and improved hostbus interrupt controller 18, timer/counter 20 and the real time
interface device for interfacing a processor coupled to a host clock 22 of the South bridge 8.
bus to XT/AT legacy I/O devices and a high speed bus. The           In FIG. 5, between markers X-40 and O-42, a stable I/O
legacy I/O devices typically include an interrupt controller, address     44 is asserted (ADSH 44 asserted) and the write data
timer/counter and a real time clock. The hostbus interface 35
includes a host controller coupled between the host buS and isasserted).
                                                                  taken by the I/O device (W/RH 46 and BRDY# 48 are
the high Speed bus, with the interrupt controller, the timer/ Seconds areAsneeded
                                                                             shown in FIG. 5, approximately 1.5 micro
                                                                                   to complete a typical I/O cycle.
counter and the real time clock coupled to the host control       The  present  invention  overcomes this lengthy time
ler. The host controller is configured to provide an interface requirements in the background    art of FIGS. 7 and 8 by
between the processor coupled to the host bus and the 40 relocating legacy I/O devices (e.g.,       interrupt controller 18,
interrupt controller, the timer/counter, the real time clock timer/counter 20 and real time clock      22) from the south
device and the high Speed bus.                                 bridge 8 to the north bridge 4, while maintaining compat
   The novel host bus interface device of the present inven
tion has the advantage of improving System performance of ibility
                                                               the
                                                                      with hardware and software designed to operate with
                                                                   legacy I/O devices.
an XT/AT compatible personal computer by reducing acceSS 45 FIG. 1 shows        such a relocation of an interrupt controller
latency of the processor to the XT/AT legacy I/O devices.            18, a timer/counter 20 and a real time clock 22 to the north
      BRIEF DESCRIPTION OF THE DRAWINGS                          bridge 4 from the background art south bridge 8 of FIG.8.
   A more complete appreciation of the present invention            FIGS. 2 through 4 show the details of the modifications to
and many of the attendant advantages thereof will be readily 50 the   north bridge 4 and the South bridge 8 in the present
                                                                 invention to accomplish the relocation of the interrupt
obtained as the same becomes better understood by refer controller 18, the timer/counter 20 and the real time clock 22
ence to the following detailed descriptions when considered to the north bridge 4 of FIG. 1. Specifically, FIG. 2 shows
in connection with the accompanying drawings, wherein:           the relocation of the interrupt controller 18, FIG.3 shows the
   FIG. 1 is a block diagram of a hostbus interface according 55 relocation of the timer/counter 20, and FIG. 4 shows the
to the present invention;                                        relocation of the real time clock 22, each to the north bridge
   FIG. 2 is a block diagram showing details of relocating an 4'. Accordingly, in FIGS. 2 through 4 the north bridge 4 has
interrupt controller from a South bridge to a north bridge been labeled as north bridge 4' and the South bridge 8 has
according to the present invention;                              been labeled as south bridge 8'.
   FIG. 3 is a block diagram showing relocating of a 60 In a preferred embodiment, all of the modifications to the
timer/counter from a South bridge to a north bridge accord north bridge 4' and the South bridge 8' shown in each of
ing to the present invention;                                    FIGS. 2 through 4 would be implemented in the device of
   FIG. 4 is a block diagram showing relocating of a real FIG. 1.
time clock from a South bridge to a north bridge according          Referring again to FIG. 1, the north bridge 4 of the
to the present invention;                                     65 present invention includes host-PCI controller 24, buffer 14,
   FIG. 5 is a timing diagram of an I/O transaction directed and relocated interrupt controller 18, timer/counter 20 and
to XT/AT legacy I/O devices;                                     real time clock 22. CPU 2 is coupled to hostbus 3 via signal
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                                S                                                                     6
lines 2a. The host-PCI controller 24 of the north bridge 4' is          multiplexer 32 receives signal 36d from IRQ routing logic
coupled to host bus 3 via signal lines 4'a. PCI bus 6 is                36. The operation of these various components of FIG. 2 will
coupled to the host-PCI controller 24 of the north bridge 4             now be described.
via signal lines 4b. Decode logic 26 of host-PCI controller                The interrupt controller 18 may typically include two
24 is coupled to the buffer 14' via signal lines 26a. The buffer        interrupt controller devices to provide a total of 16 priori
14' is coupled to interrupt controller 18, timer/counter 20 and         tized interrupt request lines (IRQS), but typically only 15 of
real time clock 22 via bus 14'a. The host-PCI controller 24
receives data and signals from the CPU 2 over the signal the       is
                                                                        16 prioritized interrupt request lines may be usable. This
                                                                      because   one of the interrupt request lines is typically used
lines 2a and 4a and transmits data and signals to the PCI bus for cascading         the two interrupt controller devices, as will be
6 over the signal lines 4b. The operation of the north bridge apparent to those
4' according to the present invention will now be described. interrupts are sharedskilled           in the computer arts. The 15
   When CPU 2 performs an I/O transaction directed 36a which includes INTA#, four            among         PCI interrupts (PCI INT
towards the interrupt controller 18, the timer/counter 20 or ISA bus interrupt request (ISA IRQ INTC#,INTBH,            INTD#), the
                                                                                                               36b) and the system
the real time clock 22 of the north bridge 4, the host-PCI interrupt request from the system devices               (SYS IRQ 36c).
controller 24 of the north bridge 4' captures the I/O trans 15
action. Instead of passing the I/O transaction downstream to controller 18 transparent to the South bridgethe8',interrupt
                                                                      AS    noted   above,   to make   the  relocation
                                                                                                                              the 15
the PCI bus 6 and subsequently reaching the legacy I/O interrupt request lines 36d that fed the original interrupt
devices in the south bridge 8', the host-PCI controller 24 controller must be routed to the interrupt controller 18 in the
decodes the captured I/O transaction via the decode logic 26 north bridge 4". One possible method is to reroute all 15
and accesses the appropriate I/O device (i.e., the interrupt
controller 18, the timer/counter 20 or the real time clock 22). interrupt      request lines 36d directly to the north bridge 4.
In this way, the access latency is now determined only by the However, this method would require 15-pins in each of the
design of the legacy I/O devices (i.e., their access delays) north         bridge 4' and the South bridge 8' to accommodate the
rather than the bus to which they are attached. Commercial 15          rerouted interrupt request lines 36d. An alternate method,
                                                                   according to a preferred embodiment of the present
macrocells of these legacy I/O devices are readily available, 25 invention,     is to multiplex these 15 interrupt request lines 36d
and these macrocells are much faster than their discrete
component counterparts, used in typical XT/AT designs via multiplexer 32 as two multiplexed lines 32a using
such as shown in FIGS. 7 and 8, because they are targeted Scanning             logic (e.g., 3-bit binary counters 30 and 34). A
                                                                   LOAD signal 34b from the 3-bit binary counters 34 syn
at higher performance IC technologies.
   When the interrupt controller 18, the timer/counter 20 and chronizes         the two 3-bit binary counters 30 and 34 with the
the real time clock 22 are relocated to the north bridge 4, motherboardsignal
                                                                   PCI    CLK              30a which may be generated on the
                                                                                    of the PC as discussed previously. Another
their interaction with other logic inside the South bridge 8
must not be affected, so that XT/AT ISA bus PC compat possible                method is to relocate the IRQ routing logic 36 to the
                                                                   north bridge 4 and multiplex the SYS IRQ lines 36c from
ibility is maintained. Specifically, this means that the relo the       South bridge 8' to the interrupt controller 18 in the north
cation of the interrupt controller 18, the timer/counter 20 and 35 bridge   4' via an external multiplexer.
the real time clock 22 to the north bridge 4' should be
transparent to the operation of a conventional ISA bus 10.            In  addition   to the relocation of the interrupt controller 18
The following discussion explains how the above is accom to the north bridge 4, the timer/counter 20 may also be
plished according to the present invention with reference to relocated to the north bridge 4 from the South bridge 8' as
                                                                        will now be discussed with reference to FIG. 3. In order to
FIGS. 2-4.                                                         40
   FIG. 2 shows interrupt controller 18 relocated from South south make the relocation the timer/counter 20 transparent to the
bridge 8" to north bridge 4' according to the present inven timer/counter bridge 8', outputs 20a (discussed further below) of the
tion. In the background art South bridge 8, Such as shown in be routed back20tothat        originally fed the South bridge 8' must
                                                                                       the South bridge 8" from the north bridge
FIG. 7, 15 interrupt request lines are typically provided to
access an interrupt controller. In order to make the relocation 45 4', as shown in FIG. 3.
of the interrupt controller 18 from South bridge 8' to north          In FIG. 3, the north bridge 4 includes the timer/counter 20
bridge 4 transparent to the south bridge 8', the 15 interrupt coupled to the South bridge 8' via signal lines 20a. In order
request lines 36d that fed the original interrupt controller to make the relocation of the timer/counter 20 to the north
must be routed to the relocated interrupt controller 18 in the bridge 4 transparent, the outputs 20a of the timer/counter 20
north bridge 4' as explained below.                             50 must be routed from the north bridge 4 to the South bridge
   In FIG. 2, the interrupt controller 18 is coupled to a 8".          The three outputs 20a that must be routed back to the
                                                                   South  bridge 8' are described as follows:
decoder 28 via signal lines 28a. A 3-bit binary counter 30 is
coupled to the decoder 28 via signal lines 30a. The south             1) The output of counter #0 (e.g., refresh request),
bridge 8' includes IRQ routing logic 36, multiplexer 32 and           2) The output of counter #1 (e.g., 1.19 MHz clock output),
3-bit binary counter 34. The IRQ routing logic 36 is coupled 55          and
to the multiplexer 32 via signal lines 36d. The 3-bit binary          3) The output of counter #2 (e.g., speaker output).
counter 34 is coupled to the multiplexer 32 via Signal lines With this rerouting of outputs 20a back to the south bridge
34a. The multiplexer 32 of South bridge 8" is coupled to the 8', relocation of timer/counter 20 to the north bridge 4' will
decoder 28 of north bridge 4' via signal lines 32a. The 3-bit be transparent to CPU 2 I/O transactions accessing timer/
binary counters 30 and 34 receive PCI CLK signal 30a 60 counter 20 through south bridge 8'.
from a clock generator chip (selectable between 25 and 33                 In addition to the relocation of the timer/counter 20 to the
MHz) on a motherboard of the PC. The 3-bit binary counter               north bridge 4 from the South bridge 8', real time clock 22
30 receives a LOAD signal 34b from counter 34 in South                  may also be relocated to the north bridge 4' as now will be
bridge 8". The IRQ routing logic 36 receives PCI INT discussed with reference to FIG. 4. In order to make the
signals 36a from PCI I/O devices. The IRQ routing logic 36 65 relocation of the real time clock 22 transparent to CPU2 I/O
also receives ISA IRQ signal 36b from legacy I/O devices transactions accessing real time clock 22 through the South
and SYS IRQ signal 36c from the south bridge 8". The bridge 8', an output 22a of the real time clock 22 that
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originally fed the South bridge 8' must be routed back to the        By implementing the Structures of the present invention as
South bridge 8" from the north bridge 4", and an output 38a discussed above with respect to FIGS. 2-4, the interrupt
of an external clock Source 38 (e.g., on the motherboard of controller 18, the timer/counter 20 and the real time clock 22
the PC) that fed the original real time clock in South bridge can operate within north bridge 4 to provide XT/AT ISAbus
8' must be routed to the north bridge 4' as shown in FIG. 4.      PC compatibility at a fastest possible timing. No extra logic
   In FIG. 4, the north bridge 4 includes the real time clock is required according to the present invention, except the
22 which may be coupled to the South bridge 8' via NMI changes as described above. All other operations remain the
enable control signal lines 22a (shown as a dashed line). The SC.
real time clock 22 sends an NMI enable control signal to the         The present invention achieves relocation of the interrupt
south bridge 8' to enable the non-maskable interrupts (NMI) controller 18, the timer/counter 20 and the real time clock 22
previously discussed.                                             to the north bridge 4 to thereby minimize the time required
   Two changes are needed to Support the relocation of the for CPU 2 perform I/O transaction to the legacy I/O devices
real time clock 22 to the north bridge 4' according to the and still maintain compatibility with ISAbus peripherals and
present invention. First, the output 38a of clock source 38 Software. However, certain legacy I/O devices may require
(e.g., a 32 KHZ clock Source typically located on the 15 certain timing restrictions, for example, to accommodate
motherboard of the PC) is needed to drive the real time clock ISA bus software or hardware peripherals that rely on the
22 in north bridge 4", as previously discussed. Although in slower ISA bus timing. For example, a legacy interrupt
a preferred embodiment the output 38a of the external clock controller may require a precharge time for completing an
Source 38 on the motherboard of the PC is used, it is also        I/O transaction. A further operation of a compatibility mode
possible to use an internal oscillator located within the north in the present invention may be used to provide Such a
bridge 4' as a substitute for the external clock source 38. In necessary precharge time, although it is expected that this
addition to the external clock Source 38, an NMI enable           mode will be rarely required. This compatibility mode will
control signal must also be routed from the north bridge 4        be lower in performance, but allows for compatibility with
to the south bridge 8'. The function of the NMI enable ISA bus software or hardware peripherals that rely on the
control signal will now be described.                             slower ISA bus timing. A timing diagram illustrating the
   When the contents of the real time clock 22 (e.g., date, 25 compatibility mode will now be described with reference to
hour or minute) are accessed in a legacy XT/ATISAbus PC, FIG. 6.
this access is completed using an access to I/O location 70h.        In FIG. 6, an I/O command 50, according to the present
However, in the XT/AT ISA bus PC, bit 7 of this address           invention, may require 105 to 135 ns to complete, whereas
location is also used to control the enable or disable of the     a compatibility mode I/O command 52, according to the
generation of NMIs as a result of some other system event present invention, may be completed in 680 ns to maintain
(e.g., a parity error). Therefore the value of the State of bit compatibility with legacy I/O devices. Such a compatibility
7 of I/O location 70h must be passed back to the South bridge mode is accomplished in the present invention by having the
8' as the NMI enable control signal 22a to maintain trans host-PCI controller 24 of north bridge 4' insert wait States
parency.                                                          during I/O transactions directed to legacy I/O devices,
   The passing of the value of the state of bit 7 of I/O 35 thereby extending the timing of the I/O transactions as
location 70h can be accomplished in at least two possible shown in FIG. 6.
methods. A first method, according to the present invention,         Another design consideration is ISAbuS mastering cycles.
is to have the real time clock 22, which has been relocated       The ISA master (e.g., a bus mastering SCSI host controller)
to the north bridge 4", connected at a same Signal point that may attempt to access the legacy I/O devices via an I/O
the real time clock 22 would be connected if located in the 40 transaction. The south bridge 8' decodes such I/O
South bridge 8". The first method is achieved in the present transactions, and arbitrates for the PCI bus 6. Once the South
invention by adding a connection of a NMI enable control bridge 8' has control of the PCI bus 6, the South bridge 8
Signal line 22a (shown as a dashed line in FIG. 4). An accesses the I/O devices inside the north bridge 4 to
advantage of this method is that I/O access to I/O location complete the ISA bus mastering cycle.
70h can be completed with a fastest possible timing since the 45 The present invention has the advantage that it improves
real time clock 22 is located in the north bridge 4'. The system performance of an XT/AT ISAbus compatible PC by
disadvantage is that two new pins are required for routing reducing the CPU access latency to the XT/AT legacy I/O
the NMI enable control signal line 22a, one for the north devices. The background art method limits the rate that these
bridge 4' and one for the South bridge 8". A second method legacy I/O devices are accessed by the bus band width of the
is to have the host-PCI controller 24 pass the NMI enable 50 ISA bus. In the method according to the present invention,
control signal (i.e., bit 7 of I/O location 70h) to the south access latency is only a function of the I/O device design
bridge 8' via already existing signal lines 4b and 8'a. Using rather than the bus to which the I/O device is attached. In
this second method, when the CPU 2 accesses the real time         other words, if a future CPU is running at 100 MHz, a
clock 22 during an I/O location 70h I/O transaction, the real suitably designed I/O device can respond to such CPU I/O
time clock 22 inside the north bridge 4 responds with the 55 cycles without effecting XT/AT ISA bus PC compatibility.
fastest timing. However, the I/O transaction does not termi Another benefit of the design according to the present
nate there. The value of the state of bit 7 must then pass invention is that while the CPU is accessing the legacy I/O
through the PCI bus 6 to be decoded by the South bridge 8'. devices, the PCI or ISA bus masters can utilize these buses
The South bridge 8' takes the value of the state of bit 7 of I/O Since the necessary Signals are routed between the north
location 70h as the normal NMI enable control signal. The 60 bridge 4' and the South bridge 8' without PCI/ISA bus
advantage to this method is that no additional pins are interaction. This concurrent bus operation translates into
needed in the north bridge 4 or the South bridge 8', i.e., a higher System performance. This is not possible with the
dedicated NMI enable control signal line 22a is not required. background art method since the background art method
However, the disadvantage to this method is that I/O loca requires PCI/ISA bus interaction to complete an I/O trans
tion 70h access is not completed at the fastest possible speed 65 action.
since the value of the state of bit 7 must be passed through         Although the preferred embodiment of the hostbus inter
the PCI bus 6 to be decoded by the south bridge 8.                face is described in terms of a north bridge and South bridge,
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the present invention could be adapted for use by placing the      a host bus bridge coupled between the host bus and the
legacy I/O devices in a location that takes advantage of the          high Speed bus, and
host bus and the speed capabilities of the CPU, as will be         a low speed bus bridge coupled between the high Speed
apparent to those skilled in the computer art.                        bus and the low speed bus;
   Although the preferred embodiment of the hostbus inter          the host bus bridge comprising,
face is described in terms of relocating the interrupt con         a host controller coupled between the host bus and the
troller 18, timer/counter 20 and real time clock 22 to the            high Speed bus,
north bridge 4, the present invention could be adapted to
accommodate the relocation of various other I/O devices to         I/O devices coupled to the host controller, the I/O devices
the north bridge 4", as will be apparent to those skilled in the      including an interrupt controller, a timer device, and a
computer art.                                                          clock device,
   Although the preferred embodiment of the hostbus inter          the host controller configured to provide an interface
face is described in terms of a PCI Bus, the present invention        between the processor and the I/O devices and between
could be adapted for other bus standards such as NuBus,               the processor and the high Speed bus, and
VESA, EISA, etc., by simply modifying the host-PCI con 15          a buffer device coupled between the host controller and
troller 24 and PCI/ISA controller 12, as will be apparent to           the I/O devices,
those skilled in the computer art.                                 the host controller including a decoder coupled to the
   Although the preferred embodiment of the PCI bus inter             buffer device and configured to decode I/O transactions
face is described in terms of discrete logic functions, the           from the processor to at least one of the I/O devices.
present invention could be adapted to be packaged onto a           4. A computer System comprising:
Single integrated circuit, field programmable gate array,          a host bus,
application specific integrated circuit, or custom integrated      a high Speed bus,
circuit, as will be apparent to those skilled in the computer      a low speed bus,
art.
   Obviously, numerous additional modifications and varia 25       a processor coupled to the hostbus,
tions of the present invention are possible in light of the        a host bus bridge coupled between the host bus and the
above teachings. It is therefore to be understood that within         high Speed bus, and
the Scope of the appended claims, the present invention may        a low speed bus bridge coupled between the high Speed
be practiced otherwise than as Specifically described herein.         bus and the low speed bus;
   What is claimed as new and desired to be secured by             the host bus bridge including,
Letters Patent of the United States is:                            a host bus and the high Speed bus,
  1. A host bus interface device for interfacing a processor       at least one I/O device coupled to the host controller,
coupled to a host bus to I/O devices and a high speed bus,         the host configured to provide an interface between the
comprising:                                                           processor and the at least one I/O device and between
  a host controller coupled between the host bus and the 35           the processor and the high Speed bus, and
     high speed bus; I/O devices coupled to the host               a buffer device coupled between the host controller and
     controller, the I/O devices including an interrupt                the at least one I/O device,
       controller, a timer device, and a clock device;             the host controller including a decoder coupled to the
  the host controller configured to provide an interface 40           buffer device and configured to decode I/O transactions
     between the processor and the I/O devices and between            from the processor to the at least one I/O device.
     the processor and the high Speed bus, and                     5. The device according to claim 1, wherein the host
  a buffer device coupled between the host controller and controller is configured to provide a compatibility mode for
     the I/O devices;                                           extending a timing of the I/O transactions.
  the host controller including a decoder coupled to the 45 6. The device according to claim 2, wherein the host
     buffer device and configured to decode I/O transactions controller is configured to provide a compatibility mode for
     from the processor to at least one of the I/O devices.     extending a timing of the I/O transactions.
  2. A host bus interface device for interfacing a processor       7. The system according to claim 3, wherein the host
coupled to a host bus to at least one I/O device and a high     controller  is configured to provide a compatibility mode for
Speed bus, comprising:                                       50
                                                                extending   a timing of the I/O transactions.
                                                                   8.  The  system
  a host controller coupled between the host bus and the controller is configured   according to claim 4, wherein the host
     high Speed bus,                                                                      to provide a compatibility mode for
  at least one I/O device coupled to the host controller;       extending   a  timing of the I/O transactions.
                                                                   9. The device according to claim 1, further comprising:
  the host controller configured to provide an interface           a low speed bus, and
     between the processor and the at least one I/O device 55 a low speed bus controller coupled between the high
     and between the processor and the high Speed bus, and            Speed bus and the low Speed bus.
  a buffer device coupled between the host controller and          10. The device according to claim 2, further comprising:
     the at least one I/O device;                                  a low speed bus, and
  the host controller including a decoder coupled to the 60 a low speed bus controller coupled between the high
     buffer device and configured to decode I/O transactions          Speed bus and the low Speed bus.
     from the processor to the at least one I/O device.            11.  The System according to claim 3, the low Speed bus
  3. A computer System comprising:                              bridge comprising:
  a hostbus,                                                       a high Speed bus controller coupled between the high
  a high Speed bus,                                          65       Speed bus and the low Speed bus, and
  a low Speed bus,                                                 a memory controller coupled to the high Speed bus
  a processor coupled to the hostbus,                                 controller;
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  the high Speed bus controller configured to provide an     a memory controller coupled to the high Speed bus
     interface between the host bus bridge and the memory        controller;
     controller and between the hostbus bridge and the low   the high Speed bus controller configured to provide an
     Speed bus.                                                 interface between the host bus bridge and the memory
   12. The System according to claim 4, the low Speed bus       controller and between the hostbus bridge and the low
bridge comprising:                                              Speed bus.
   a high Speed bus controller coupled between the high
     Speed bus and the low Speed bus, and
